Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 1 of 12 PageID #: 156




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

 TANYA WARREN,
 LARRY WARREN,

                   PLAINTIFFS,
                                                        CIVIL ACTION NO. 1:16-CV-01326-SEB-DML
 v.
                                                        JURY TRIAL DEMANDED
 BOEHRINGER INGELHEIM
 PHARMACEUTICALS, INC.;
 BOEHRINGER INGELHEIM
 INTERNATIONAL GmbH; ELI LILLY
 AND COMPANY; and LILLY USA, LLC,

                   DEFENDANTS.


            DEFENDANTS ELI LILLY AND COMPANY AND LILLY USA, LLC’S
                MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

                   Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants Eli Lilly and

 Company and Lilly USA, LLC (together “Lilly”) file this Memorandum in Support of their

 Motion to Dismiss the claims of Plaintiffs Tanya and Larry Warren.

 I.     INTRODUCTION

                   This is a personal injury action concerning Jardiance, a prescription drug

 approved by the Food and Drug Administration (“FDA”) for the treatment of Type 2 diabetes.

 Lilly co-markets Jardiance with Defendant Boehringer Ingelheim Pharmaceuticals, Inc. (“BIPI”).

 BIPI was and is the sole holder of the Jardiance New Drug Application (“NDA”) filed with the

 FDA. Plaintiffs allege that Ms. Warren developed diabetic ketoacidosis (“DKA”) as a result of

 using Jardiance. Plaintiffs assert eleven claims, each against Lilly and the BIPI entities. 1 All of

        1
            The non-U.S. Defendant Boehringer Ingelheim International GmbH has not been served in this action.
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 2 of 12 PageID #: 157




 Plaintiffs’ claims are premised on allegations that either Defendants failed to properly warn

 about Jardiance’s risks or that the medication was defectively designed.

                   The Court should dismiss all of Plaintiffs’ claims against Lilly because they are

 preempted. Federal law permits only the NDA holder to change the labeling, design, and

 manufacture of an FDA-approved prescription drug. Since only BIPI holds, and has ever held,

 the NDA for Jardiance, Lilly has never had the authority to change the drug’s labeling, design, or

 manufacture. As a consequence, all of Plaintiffs’ claims against Lilly fail, a result warranted by

 Supreme Court precedent. Moreover, to the extent Plaintiffs’ design defect claims are premised

 on a failure to change the design of Jardiance, those claims are preempted as against all

 Defendants for an additional reason. Under Supreme Court precedent, any change to Jardiance’s

 design as advocated by Plaintiffs would conflict with federal law, which precludes any change in

 formulation absent FDA approval. 2 For these reasons and the reasons set forth below, Lilly

 respectfully requests that its motion to dismiss be granted.

 II.      BACKGROUND

          A.       All of Plaintiffs’ Claims Are Based on Failure-to-Warn or Design Defect
                   Allegations.

                   “Plaintiffs in this action seek compensation for injuries resulting from use of

 defective prescription drug JARDIANCE for the treatment of type 2 diabetes.” First Amended

 FAC (“FAC”) at ¶ 1. Plaintiffs, “at all times relevant hereto,” are and have been “citizen[s] and

 resident[s]” of the State of Louisiana. FAC at ¶¶ 9-10. Jardiance is an FDA-approved

 prescription medication indicated as an adjunct to diet and exercise to improve glycemic control

          2
             In a separate motion, Lilly and BIPI are moving jointly to dismiss Plaintiffs’ Complaint on the grounds
 that it does not meet the threshold pleading requirements of Fed. R. Civ. P. 8 and 9. The design defect preemption
 argument is more fully developed therein, and Lilly hereby incorporates § IV of Defendants Boehringer Ingelheim
 Pharmaceuticals, Inc. and Eli Lilly and Company, and Lilly USA LLC’s Memorandum in Support of Motion to
 Dismiss (hereinafter, “Joint Motion”) by reference.




                                                         -2-
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 3 of 12 PageID #: 158




 in adults with type 2 diabetes mellitus. FAC at ¶ 26. Ms. Warren alleges that she began

 treatment with Jardiance 10mg once daily “on or about February 4, 2015.” FAC at ¶ 46. She

 alleges that, as a result of ingesting Jardiance, she suffered DKA on or about May 28, 2015 and

 was hospitalized in Louisiana. FAC at ¶ 47.

                   On May 27, 2016, Plaintiffs filed their initial Complaint (D.E. 1). Thereafter,

 finding that Plaintiffs’ Complaint lacked a basis for federal subject matter jurisdiction, the Court

 ordered Plaintiffs to file an Amended Complaint within ten days. (D.E. 4). On June 9, 2016,

 Plaintiffs filed their FAC. (D.E. 5). Plaintiffs allege that Defendants are liable under theories of

 “Strict Liability – Design Defect” (First Claim), “Strict Liability – Failure to Warn” (Second

 Claim), “Negligence” (Third Claim), “Negligent Misrepresentation” (Fourth Claim), “Breach of

 Implied Warranty” (Fifth Claim), “Breach of Express Warranty” (Sixth Claim), “Fraudulent

 Misrepresentation” (Seventh Claim), “Fraudulent Concealment” (Eighth Claim), “Violation of

 Consumer Protection Laws” (Ninth Claim), “Loss of Consortium” (Tenth Claim), and “Punitive

 Damages” (Eleventh Claim). Each of these purported claims is based on the same allegations—

 all vaguely relate to Jardiance’s chemical formulation and/or what Defendants allegedly

 communicated about its risks. E.g., FAC at ¶¶ 3-5, 11, 29, 33-35, 38-44, 49-56, 57-71, 73-85,

 87-97, 100-106, 108-116, 118-127, 129-136, 138-148, 150, 152-156, 158-160, 165-169.

                   The Louisiana Products Liability Act (“LPLA”) provides “the exclusive theories

 of liability for manufacturers for damage caused by their respective products.” La. R.S.

 § 9:2800.52.3 The LPLA only allows recovery if a product is “unreasonably dangerous.” Id. at

 § 9:2800.54. A product can only be unreasonably dangerous in four exclusive ways: (1) the

          3
            . “A court sitting in diversity must apply the substantive law of the state in which it sits,” including the
 state’s conflict rules. Land v. Yamaha Motor Corp., 272 F.3d 514, 516 (7th Cir. 2001). For the reasons set forth in
 § I of the Joint Motion, accepting all of Plaintiffs’ allegations as true, Louisiana law applies to Plaintiffs’ claims.




                                                           -3-
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 4 of 12 PageID #: 159




 product is unreasonably dangerous in construction or composition; (2) the product is

 unreasonably dangerous in design; (3) the product is unreasonably dangerous because an

 adequate warning about the product has not been provided; or (4) the product is unreasonably

 dangerous because it does not conform to an express warranty of the manufacture. Id.

                     Plaintiffs do not claim that Jardiance was unreasonably dangerous in construction

 or composition. 4 Plaintiffs’ allegations all pertain to claims for failure-to-warn or defective

 design. Cf. Mutual Pharmaceutical Co. v. Bartlett, 133 S. Ct. 2466, 2473-2474 (2013) (liability

 in state law products lawsuits invariably premised on defect in design or warning); Germain v.

 Teva Pharms., USA, Inc. (In re Darvocet, Darvon, & Propoxyphene Prods. Liab. Litig), 756 F.3d

 917., 935-936 (6th Cir. 2014) (all claims were either failure-to-warn claims or design defect

 claims); Schrock v. Wyeth, Inc., 727 F.3d 1273 (10th Cir. Okla. 2013) (claims allege a duty

 under state law to alter either the drug’s composition or labeling); Guarino v. Wyeth, LLC, 719

 F.3d 1245 (11th Cir. Fla. 2013) (all claims based on allegedly inadequate warning); Morris v.

 Pliva, Inc., 713 F.3d 774 (5th Cir. La. 2013) (any claim that alleges defendant “should have

 acted differently with respect to warnings” is a failure-to-warn claim).

          B.         BIPI Holds Jardiance’s NDA—Not Lilly

                     The FDA approved BIPI’s NDA for Jardiance (empagliflozin) on August 1, 2014.

 See Jardiance Approval Letter from FDA to BIPI (August 1, 2014).5 The FDA maintains for

 public reference a list of approved products known as the “Orange Book.” See Preface to the



          4
              La. R.S. § 9:2800.55 provides that “[a] product is unreasonably dangerous in construction or composition
 if, at the time the product left its manufacturer’s control, the product deviated in a material way from the
 manufacturer’s specifications or performance standards for the product or from otherwise identical products
 manufactured by the same manufacturer.”
          5
              FDA Ref ID: 3603272, available at http://bit.ly/JardNDAApproval (last accessed Sept. 20, 2016).




                                                           -4-
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 5 of 12 PageID #: 160




 Thirty-Sixth Edition, Orange Book (HHS 2016).6 Each entry in the Orange Book names the

 product’s “applicant” (i.e., the holder of the product’s application). Id. The Orange Book entry

 for Jardiance lists only BIPI. Orange Book at 3-134; see also Additions/Deletions For Drug

 Product List at 9 (August 2014) (adding a new entry to the Orange Book for empagliflozin and

 listing BIPI as the sole applicant). At all relevant times BIPI was the exclusive holder of the

 NDA for Jardiance.

 III.     LEGAL STANDARD

                   A court may dismiss a claim for “failure to state a claim upon which relief can be

 granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a complaint must contain

 sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

 570 (2007)). This “plausibility” standard applies to all claims brought in federal court. See Iqbal,

 556 U.S. at 684.

                   A claim is plausible only if the plaintiff “pleads factual content that allows the

 court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 Id. at 678. Plaintiffs must allege enough “by way of factual content to nudg[e] [their] claim[s]

 . . . across the line from conceivable to plausible.” Id. at 683. Where a complaint pleads facts

 that are “merely consistent with a defendant’s liability, it stops short of the line between


          6
            The Orange Book is available on FDA’s website at http://bit.ly/2aoCgmB (last accessed Sept. 20, 2016).
 The official title of the Orange Book is “Approved Drug Products with Therapeutic Equivalence Evaluations.” Id.
 Fed. R. Civ. P. 12(d) provides that if “matters outside the pleadings are presented and not excluded by the court, the
 [Rule 12] motion must be treated as one for summary judgment under Rule 56.” Id. However, the Court may
 consider public documents and reports of administrative bodies without converting a motion to dismiss into one for
 summary judgment. Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547, 556 (7th Cir. 2012) (citing Menominee Indian
 Tribe of Wis. v. Thompson, 161 F.3d 449, 456 (7th Cir. 1998)).




                                                          -5-
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 6 of 12 PageID #: 161




 possibility and plausibility of entitlement to relief.” Id. at 678 (internal quotation marks

 omitted); see also McCauley v. City of Chicago, 671 F.3d 611, 626 (7th Cir. 2011). Further,

 although a court generally must accept well-pleaded facts as true on a motion to dismiss for

 failure to state a claim, this principle does not apply to legal conclusions. See Iqbal, 556 U.S. at

 678. “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

 statements, do not suffice.” Id.; see also Twombly, 550 U.S. at 555 (“[P]laintiff’s obligation to

 provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions,

 and a formulaic recitation of the elements of a cause of action will not do.”) (citing Fed. R. Civ.

 P. 8(a)); U.S. ex rel. Prather v. Ewert, 2013 WL 500864, at *1 (C.D. Ill. Feb. 11, 2013)

 (“Conclusory allegations are ‘not entitled to be assumed true.’”) (quoting Iqbal, 566 U.S. at 681).

                Because this preemption challenge represents a purely legal issue, the Court

 should decide it at the dismissal stage—as other courts have done when faced with similar

 arguments. See, e.g., PLIVA, Inc. v. Mensing, 564 U.S. 604 (2011) (overturning Fifth and Eighth

 Circuit’s rejection of preemption-based dismissal); see also Amos v. Biogen Idec Inc., 28 F.

 Supp. 3d 164, 169 (W.D.N.Y. 2014) (granting motion to dismiss design defect claim with

 prejudice on preemption grounds); Thompson v. Allergan USA, Inc., 993 F. Supp. 2d 1007, 1013

 (E.D. Mo. 2014) (finding state law claims preempted by federal law on motion to dismiss).

 IV.    ARGUMENT

        A.      State Laws that Conflict with Federal Law Are Preempted

                The Court should dismiss Plaintiffs’ claims against Lilly because all are

 preempted. The doctrine of preemption arises from the Supremacy Clause of the United States

 Constitution. U.S. CONST. art. VI, cl. 2. The Supremacy Clause provides that the Constitution,

 federal law, and all treaties “shall be the supreme Law of the Land; and the Judges in every State

 shall be bound thereby, any Thing in the Constitution or Laws of any State to the Contrary


                                                  -6-
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 7 of 12 PageID #: 162




 notwithstanding.” Id. Since McCulloch v. Maryland, courts have consistently applied the

 Supremacy Clause to hold state laws in conflict with federal law to be “without effect.” 7

 Cipollone v. Liggett Group, 505 U.S. 504, 516 (1992); see also Florida Lime & Avocado

 Growers, Inc. v. Paul, 373 U.S. 132, 142-143 (1963) (“A holding of federal exclusion of state

 law is inescapable and requires no inquiry into congressional design where compliance with both

 federal and state regulations is a physical impossibility for one engaged in interstate commerce.”)

                   A recent trilogy of Supreme Court cases clarified the test for conflict preemption

 in the context of pharmaceutical drugs. First, in Wyeth v. Levine, 555 U.S. 555 (2009), the Court

 explained when impossibility does not exist—i.e., where there is a regulatory provision that

 expressly allows a defendant to do unilaterally what state-law requires. Id. at 572-73. Then, in

 Mensing, the Court defined “impossibility:” “[t]he question for ‘impossibility’ is whether the

 private party could independently do under federal law what state law requires of it.” 564 U.S. at

 620 (emphasis added). And “independently,” the Court explained, meant unilaterally: “to

 decide these cases, it is enough to hold that when a party cannot satisfy its state duties without

 the Federal Government’s special permission and assistance, which is dependent on the exercise

 of judgment by a federal agency, the party cannot independently satisfy those state duties for pre-

 emption purposes.” Id. Last, in Mutual Pharm. Co. v. Bartlett, the Court found that state law

 design defect claims that “place a duty on manufacturers to render a drug safer . . . by altering its



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             Federal regulations have no less preemptive effect than federal statutes. Fid. Fed. Sav. & Loan Ass'n v. de
 la Cuesta, 458 U.S. 141, 153 (1982). “Where Congress has directed an administrator to exercise his discretion, his
 judgments are subject to judicial review only to determine whether he has exceeded his statutory authority or acted
 arbitrarily.” Id. at 153-154 (citing United States v. Shimer, 367 U.S. 374, 381-382 (1961)). Similarly, where an
 administrator has promulgated regulations, the inquiry is also limited: “If her choice represents a reasonable
 accommodation of conflicting policies that were committed to the agency's care by the statute, [courts] should not
 disturb it unless it appears from the statute or its legislative history that the accommodation is not one that Congress
 would have sanctioned.” Id. at 154.




                                                           -7-
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 8 of 12 PageID #: 163




 composition . . . are in conflict with federal laws that prohibit manufacturers from unilaterally

 altering drug composition.” 133 S. Ct. at 2479.

                  Wyeth, Mensing, and Bartlett should be viewed as “stating the same test for

 impossibility preemption.” Yates v. Ortho-McNeil-Janssen Pharm., Inc., 808 F.3d 281, 296-297

 (6th Cir. 2015); see also Wos. v. E.M.A. ex rel. Johnson, 133 S. Ct. 1391, 1398 (2013) (applying

 Mensing preemption to state law purporting to impose lien on Medicaid beneficiaries’ tort

 recoveries); Horseman’s Benevolent & Protective Ass’n Ohio Div., Inc. v. DeWine, 666 F.3d

 997, 1000–01 (6th Cir. 2012) (holding state law conflicted with federal statute requiring consent

 of a horseman’s group to off-track wagering); Marcus v. Forest Labs., Inc. (In re Celexa &

 Lexapro Mktg. & Sales Practices Litig.), 779 F.3d 34, 43 (1st Cir. 2015) (holding failure-to-warn

 claim involving branded drug was preempted under Mensing).

                  The Wyeth, Mensing, and Bartlett trilogy provides courts with an easily-applied,

 universal framework for determining when a state-law claim is conflict-preempted. First, courts

 should identify what action would be required of the defendant to satisfy the state-law duties

 underlying the plaintiff’s claims. Then, courts should determine whether there is a federal law or

 regulation that would prevent the defendant from taking that action independently. Where

 federal law or regulation would prohibit the defendant from independently taking the required

 action, the claim is preempted. See Mensing, 564 U.S. at 620.8


         8
             Any decision declining to apply the Wyeth-Mensing-Bartlett test to branded drugs is inconsistent with
 Bartlett (in which the Supreme Court recognized that “’ [o]nce a drug … whether generic or brand name … is
 approved, the manufacturer is prohibited from making any major changes’ without seeking approval from the
 FDA”) and contrary to the decisions of numerous courts to consider the issue. The few district courts outside that
 have held otherwise should not be followed here. E.g., Sullivan v. Aventis, Inc., No. 14-cv-2939-NSR, 2015 WL
 4879112 (S.D.N.Y. Aug. 13, 2015); Brown v. Johnson & Johnson, 64 F. Supp. 3d 717 (E.D. Pa. 2014); Estate of
 Cassel v. Alza Corp., No. 12-cv-771-WMC, 2014 WL 856023 (W.D. Wis. Mar. 5, 2014).




                                                         -8-
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 9 of 12 PageID #: 164




        B.      Plaintiffs’ Failure-to-Warn and Design Defect Claims Against Lilly Are
                Preempted Because Lilly Is Not the Jardiance NDA Holder

                As a non-holder of the Jardiance NDA, Lilly has no control over the labeling or

 design of Jardiance. Federal law requires FDA approval of an NDA prior to marketing a new

 drug in the United States. Marcus, 779 F.3d at 35-36. Thus, FDA is the “exclusive judge of

 safety and efficacy based on information available at the commencement of marketing.” Id. at

 41 (emphasis added). The company that owns and controls the NDA is referred to as the

 “applicant.” See 21 C.F.R. § 314.3(b) (defining “application” and “applicant”); see also id.

 § 314.50 (describing NDA contents). Following the FDA’s approval of a new drug, proposed

 changes to the drug’s labeling, design, or manufacture must be submitted to the FDA in the form

 of a “supplement” to the NDA. See id. § 314.70(a)(1)(i) (“…the applicant must notify FDA

 about each change in each condition established in an approved application beyond the variations

 already provided for in the application…”); 21 C.F.R. § 314.70(c)(6) (“The agency may

 designate a category of changes for the purpose of providing that, in the case of a change in such

 category, the holder of an approved application may commence distribution of the drug product

 involved upon receipt by the agency of a supplement for the change.”); see also FDA Guidance

 for Industry: Changes to an Approved NDA or ANDA (April 2004) (describing processes to

 change an approved drug’s manufacturing site, manufacturing processes, product specifications,

 container closure system, and labeling).

                Critical to the preemption analysis is who can submit a supplement to an approved

 NDA. Federal law provides a clear answer: only “the applicant” may do so. See, e.g., 21

 C.F.R. § 314.70(a)(1)(i) (“…the applicant must notify FDA about each change in each condition

 established in an approved application beyond the variations already provided for in the

 application…”); accord 21 C.F.R. § 10.30 (providing a process whereby non-applicants may



                                                -9-
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 10 of 12 PageID #: 165




  submit citizen petitions to FDA suggesting that FDA take regulatory action); see also Marcus,

  779 F.3d at 41 (“a necessary step in defeating [a] preemption defense is to establish that the

  complaint alleges a labeling deficiency that [the manufacturer/NDA holder] could have corrected

  using the CBE regulation”).

                    In this context, the Sixth Circuit has found that federal law preempted failure-to-

  warn claims against Lilly where Lilly did not hold the NDA for the drug at issue. See Germain,

  756 F.3d at 940. In Germain, one plaintiff brought causes of action against Lilly based on her

  ingestion of a Lilly-manufactured generic product after Lilly sold its NDA for the branded

  equivalent. 9 Id. at 939-940. Lilly brought a motion for judgment on the pleadings, arguing,

  inter alia, that Lilly could not be held liable for failing to warn the plaintiff after it no longer held

  the NDA. Marston v. Eli Lilly and Company, No. 12-cv-00066 (Doc No. 62), *6 (E.D. Ky. July

  31, 2012). The trial court agreed and dismissed the claim. Id. at *6. The Sixth Circuit affirmed,

  finding that without the NDA “Lilly had no more power to change the label than did [a generic

  manufacturer].” Germain, 756 F.3d at 940.

                    Other courts, in addition to the Sixth Circuit in Germain, have reached the same

  conclusion. See, e.g., Brazil v. Janssen Research & Dev. LLC, No. 4:15-CV-0204-HLM, 2016

  U.S. Dist. LEXIS 93528, at *33 (N.D. Ga. July 11, 2016) (“A distributor, even of a brand name

  drug, ‘has no power to change...labeling. That power lies with the applicant who filed the New

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             Germain arose from a multidistrict litigation action consolidating sixty-eight claims against both generic
  and brand-name manufacturers for personal injuries allegedly caused by the prescription drug propoxyphene.
  Germain, 756 F.3d at 922. Lilly originally brought propoxyphene to market in 1952 under the trade name Darvon
  and, then, as Darvocet in 1972. Id. at 923-924. For some time thereafter, Lilly was the only manufacturer of
  propoxyphene-based drugs; however, following the passage of the Hatch-Waxman Act, several additional
  companies obtained approval to market generic versions of both Darvon and Darvocet. Id. at 923. In the following
  years, Lilly entered into various supply agreements, pursuant to which Lilly would manufacture generic
  propoxyphene products for some of these companies. Id. In 2002, Lilly sold its NDA for both Darvon and Darvocet
  to NeoSan Pharmaceuticals, but continued to manufacture generic propoxyphene products pursuant to its supply
  agreements. Id.




                                                          -10-
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 11 of 12 PageID #: 166




  Drug Application (NDA)’”); In re Fosamax Prods. Liab. Litig., No. 2243 (JAP-LHG), 2012

  U.S. Dist. LEXIS 5817 (D.N.J. Jan. 17, 2012) (power to change the label “lies with the applicant

  who filed the New Drug Application seeking approval to market [the product]”).

                    These decisions are consistent with the Supreme Court’s teaching in Mensing that

  courts are not to “strain to find ways to reconcile federal law with seemingly conflicting state

  law.” Mensing, 564 U.S. at 622. As the Mensing Court observed, according to the wording of

  the Supremacy Clause, “a court need look no further than the ordinary meaning of federal law,

  and should not distort federal law to accommodate conflicting state law.” Id. at 623. In the case

  of Jardiance, only BIPI holds the NDA. Lilly does not and never has. Accordingly, federal law

  makes it impossible for Lilly to comply with the duties underlying Plaintiffs’ state-law claims.

  Lilly cannot change Jardiance’s label or design. Because Plaintiffs’ claims are based on

  allegations of failure to warn or defective design, all claims against Lilly are preempted.10

  V.       CONCLUSION

                    For the reasons stated above, Plaintiffs’ claims against Lilly are preempted.

  Accordingly, Lilly respectfully requests that the Court grant its motion to dismiss with prejudice

  for failure to state a claim upon which relief can be granted.

  Dated: September 20, 2016.                                  Respectfully submitted,

                                                              ICE MILLER LLP

                                                              s/ Mary Nold Larimore
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             To the extent that Plaintiffs would have the Court construe their claims as being premised on a duty to
  change Jardiance’s design or labeling prior to FDA approval, for the reasons set forth in § IV of Defendants’ Joint
  Motion, Plaintiffs’ claims would still fail.




                                                          -11-
Case 1:16-cv-01326-SEB-DML Document 23 Filed 09/20/16 Page 12 of 12 PageID #: 167




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                                                    Counsel for Defendants Eli Lilly and Company
                                                    and Lilly USA, LLC


                                  CERTIFICATE OF SERVICE

  I hereby certify that on September 20, 2016, I electronically filed the foregoing with the Clerk of
  the Court using the CM/ECF system, which sent notification of such filing to all counsel of
  record.

  I further certify that some of the participants in the case are not CM/ECF users. I have mailed
  the foregoing document by First-Class Mail, postage prepaid to the following non-CM/ECF
  participants:


        Elizabeth C. Curtin                         Heidi Levine
        SIDLEY AUSTIN, LLP                          SIDLEY AUSTIN, LLP
        One South Dearborn                          787 Seventh Avenue
        Chicago, IL 60603                           New York, NY 10019



                                                          s/ Mary Nold Larimore
                                                          Mary Nold Larimore


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